            Case 1:05-cr-00161-LJO Document 645 Filed 02/01/08 Page 1 of 1


1    McGREGOR W. SCOTT
     United States Attorney
2    KAREN A. ESCOBAR
     Assistant U.S. Attorney
3    2500 Tulare Street
     Fresno, California 9372l
4    Telephone: (559) 497-4000
5
6
7
8                IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          ) 1:05-CR-0161 OWW
                                        )
12                                      )
                    Plaintiff,          )
13                                      )
          v.                            ) ORDER
14                                      )
                                        )
15   MARK REYES,                        )
                                        )
16                  Defendant.          )
     ___________________________________)
17
18        Having read and considered the parties’ stipulation to
19   vacate the current sentencing hearing date of March 3, 2008, in
20   this matter,
21        IT IS THE ORDER of the Court that the current hearing date
22   is hereby vacated, the matter is reset for March 31, 2008, at
23   1:30 p.m.
24   IT IS SO ORDERED.
25   Dated: January 31, 2008                /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
26
27
28

                                          1
